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            EXHIBIT B
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Reminder of Legal Obligations Undertaken in Exchange for Receiving Federal Financial
Assistance and Request for Certiﬁcation under Title VI and SFFA v. Harvard

                                             DIRECTIONS

The attached certiﬁcation form must be completed by the senior educational official as
deﬁned by Ed 501.03 (m)* for each district or chartered public school and returned to the
New Hampshire Department of Education (NHED).

One certiﬁcation form must be completed for each individual district or chartered public
school.

Email the completed certiﬁcation form in its entirety, including the Mandatory Supplement
Questionnaire, to federalcompliance@doe.nh.gov, no later than 5:00 pm on Thursday,
April 10, 2025, with the email subject line: Title VI Compliance Certiﬁcation/District Name
(Charter Name).

If no certiﬁcation form is received by NHED by the deadline above, NHED is required to
report to the United States Department of Education that no certiﬁcation was received.

All issues of noncompliance and a proposed enforcement plan will be submitted to the
United States Department of Education.
*Ed 501.03 (m) “Senior educational official” means the top executive in an educational organization who
makes the key decisions on spending, staffing, and other education policies.
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                                         UNITED STATES DEPARTMENT OF EDUCATION
                                                          WASHINGTON, D.C. 20202




                                                                                                                   April 3, 2025

      Reminder of Legal Obligations Undertaken in Exchange for Receiving Federal Financial
          Assistance and Request for Certification under Title VI and SFFA v. Harvard

Requested Certification:

On behalf of _____________________________________________[SEA/LEA], I acknowledge that
I have received and reviewed this Reminder of Legal Obligations Undertaken in Exchange for
Receiving Federal Financial Assistance and Request for Certification under Title VI and SFFA v.
Harvard. I further acknowledge that compliance with the below and the assurances referred to, as
well as this certification, constitute a material condition for the continued receipt of federal financial
assistance, and therefore certify our compliance with the below legal obligations.



                                                                                                                       Signature

                                                                                                                ____________
                                                                                                                       _ Date


                                                                                                   Title and District or State


Title VI of the Civil Rights Act of 1964 provides that “[n]o person in the United States shall, on the ground
of race, color, or national origin, be excluded from participation in, be denied the benefits of, or be
subjected to discrimination under any program or activity receiving Federal financial assistance.” 1

Notification of the obligations imposed by Title VI are incorporated throughout federal funding and
contracting as a specific condition on the receipt of federal funds by educational institutions throughout
the United States such as your own and have been in force and effect for decades:

         Title VI of the Civil Rights Act unambiguously imposes a condition on the grant of federal
         moneys. Section 601 of Title VI states that “[n]o person ... shall, on the ground of race,
         color, or national origin, be excluded from participation in, be denied the benefits, or be
         subjected to discrimination under any program or activity receiving Federal financial
         assistance.” 42 U.S.C. § 2000d. Recipients of Federal financial assistance are automatically
         subject to the nondiscrimination obligation imposed by the statute.
1
  42 U.S.C. § 2000d. The United States Department of Education’s regulations regarding Title VI further state that a recipient
of federal funds may not, “on ground of race, color, or national origin ... [r]estrict an individual in any way in the enjoyment of
any advantage or privilege enjoyed by others receiving any service, financial aid, or other benefit under the program.” 34 C.F.R.
§ 100.3(b)(1)(iv). Nor may a funding recipient, such as a college or university “[d]eny an individual an opportunity to
participate in the program through the provision of services or otherwise or afford him an opportunity to do so which is different
from that afforded others under the program” on the basis of race, color, or national origin. Id. § 100.3(b)(1)(vi).
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       The statutory mandate can hardly escape notice. Every application for Federal financial
       assistance must, “as a condition to its approval and the extension of any Federal financial
       assistance,” contain assurances that the program will comply with Title VI and with all
       requirements imposed pursuant to the executive regulations issued under Title VI. In fact,
       applicants for federal assistance literally sign contracts in which they agree to comply with
       Title VI and to “immediately take any measures necessary” to do so. This assurance is
       given “in consideration of” federal aid, and the federal government extends assistance “in
       reliance on” the assurance of compliance. See 3 R. Cappalli, Federal Grants § 19:20, at 57,
       and n. 12 (1982) (written assurances are merely a formality because the statutory mandate
       applies and is enforceable apart from the text of any agreement).

Guardians Ass’n v. Civ. Serv. Comm’n of City of New York, 463 U.S. 582, 629–30 (1983).

Direct receipt of federal funding under Title I Part A of the Elementary and Secondary Education Act of
1965 as amended (20 U.S.C. § 6301 et seq.) is conditioned with an assurance that your entity “[w]ill
comply with all Federal statutes relating to nondiscrimination. These include but are not limited to: …
Title VI of the Civil Rights Act of 1964 (P.L. 88-352) which prohibits discrimination on the basis of race,
color or national origin.” Revised Assurances Template: The Elementary and Secondary Education Act of
1965, as amended by the Every Student Succeeds Act, p. 6. Similar assurances are required under federal
contracts and grants. Specifically, federal regulations require that “[t]he Federal agency or pass-through
entity must manage and administer the Federal award in a manner so as to ensure that Federal funding
is expended and associated programs are implemented in full accordance with the U.S. Constitution,
applicable Federal statutes and regulations—including provisions protecting free speech, religious
liberty, public welfare, and the environment, and those prohibiting discrimination—and the requirements
of this part. The Federal agency or pass-through entity must communicate to a recipient or subrecipient
all relevant requirements, including those contained in general appropriations provisions, and incorporate
them directly or by reference in the terms and conditions of the Federal award.” 2 CFR § 200.300(a)
(emphasis added).

Moreover, each State Education Agency is required to file a single set of assurances with the Secretary as
part of its consolidated State plan or application under the Elementary and Secondary Education Act of
1965, as amended (20 U.S.C. 7844). These assurances include the SEA’s commitment to comply with all
Federal statutes regarding nondiscrimination, including, but not limited to, Title VI of the Civil Rights Act
of 1964.

In Students for Fair Admissions v. President and Fellows of Harvard College (“SFFA v. Harvard”), 600
U.S. 181 (2023), the Supreme Court held that the race-based affirmative action programs at Harvard and
the University of North Carolina were illegal because they violated the Equal Protection Clause of the
Fourteenth Amendment (for state schools like North Carolina), as well as Title VI (for state and private
schools that receive federal funding like Harvard). The Court explained that the Equal Protection Clause
“represent[s] a foundational principle—the absolute equality of all citizens of the United States politically
and civilly before their own laws.” Id. at 201 (internal quotation marks omitted). It “‘forbids discrimination
by the General Government, or by the States, against any citizen because of his race.’” Id. at 205
(alterations omitted; quoting Bolling v. Sharpe, 347 U.S. 497, 499 (1954)). Put simply, the Equal
Protection Clause and Title VI prohibit race-based action, with only the narrowest of exceptions. Id.


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“The entire point of the Equal Protection Clause is that treating someone differently because of their skin
color is not like treating them differently because they are from a city or from a suburb, or because they
play the violin poorly or well.” SFFA v. Harvard, 600 U.S. at 220. That means that “race may never be
used as a ‘negative’ and that it may not operate as a stereotype,” and the Court’s “cases have stressed that
an individual’s race may never be used against him in the admissions process.” Id. at 218. Through its
equity mandates, the Biden administration has, as did the colleges and universities in SFFA v. Harvard,
“concluded, wrongly, that the touchstone of an individual’s identity is not challenges bested, skills built,
or lessons learned but the color of their skin. Our constitutional history does not tolerate that choice.” Id. at
231. As the Supreme Court emphasized, “[e]liminating racial discrimination means eliminating all of it.”
Id. at 206. 2
Given the text of Title VI and the assurances you have already given, any violation of Title VI—including
the use of Diversity, Equity, & Inclusion (“DEI”) programs to advantage one’s race over another—is
impermissible. The use of certain DEI practices can violate federal law. The continued use of illegal DEI
practices may subject the individual or entity using such practices to serious consequences, including:
         1. The use of the provisions of 42 U.S.C. § 2000d-1 to seek the “termination of or refusal
            to grant or to continue assistance under such program,” eliminating federal funding for
            any SEA, LEA, or educational institution that engages in such conduct. 3

         2. For entities and institutions that use DEI practices in violation of federal law, those
            entities may incur substantial liabilities, including the potential initiation of litigation
            for breach of contract by the Department of Justice in connection with civil rights
            guarantees contained in federal contracts and grant awards seeking to recover
            previously received funds paid to them under these contracts and grants. 4
2
  The only exception to this prohibition on the use of racial classifications is where their use satisfies “strict scrutiny” under the
Equal Protection clause. A racial classification will survive strict scrutiny only where its use advances a compelling
governmental interest and the use of race is narrowly tailored to achieve that interest. SFFA v. Harvard, 600 U.S. at 207.
“Classifying and assigning’ students based on their race ‘requires more than an amorphous end to justify it.’” Id. at 214
(alteration omitted). Goals to correct “societal discrimination,” for example, are insufficient. Id. at 226. The Supreme Court
has been clear that only two interests rise to the level of “compelling”: (1) “remediating specific, identified instances of past
discrimination that violated the Constitution or a statute;” and (2) “avoiding imminent and serious risks to human safety in
prisons, such as a race riot.” Id. at 207. And even if there is an identified compelling interest, “the government’s use of race”
must be “‘narrowly tailored’”—i.e., “‘necessary’”—to “achieve that interest.” Id.
3
  “Compliance with any requirement adopted pursuant to this section may be effected (1) by the termination of or refusal to
grant or to continue assistance under such program or activity to any recipient as to whom there has been an express finding on
the record, after opportunity for hearing, of a failure to comply with such requirement, but such termination or refusal shall be
limited to the particular political entity, or part thereof, or other recipient as to whom such a finding has been made and, shall
be limited in its effect to the particular program, or part thereof, in which such noncompliance has been so found, or (2) by any
other means authorized by law.” 42 U.S.C. § 2000d-1.
4
  Title VI allows the enforcement of conditions attached to federal funding by “any other means authorized by law.” One
enforcement mechanism for Title VI violations is a suit by the Attorney General for breach of contract. See, e.g., Guardians
Ass’n v. Civil Serv. Comm’n of N.Y.C., 463 U.S. 582, 630 n.24 (1983) (“the Federal Government can always sue any recipient
who fails to comply with the terms of the grant agreement”); Cannon v. Univ. of Chi., 441 U.S. 677, 772 (1979) (White, J.,
dissenting) (“The ‘other means’ provisions of [Title VI] include agency suits to enforce contractual antidiscrimination
provisions”); United States v. Marion Cnty. Sch. Dist., 625 F.2d 607, 609–11 & 617 (5th Cir. 1980) (concluding “that the
United States is entitled to sue to enforce contractual assurances of compliance with Title VI's prohibition against discrimination
in the operation of federally-funded schools”); see also Arthur R. Block, Enforcement of Title VI Compliance Agreement by
Third Party Beneficiaries, 18 HARV. C.R.C.L. L. REV. 1, 9 n.24 (1983) (noting that the Department has enforced Title VI
“under two legal authorizations”: suits under Title IV of the Civil Rights Act of 1964 and actions for “specific performance of
contractual assurances of non-discrimination made by fund recipients”).
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3. Moreover, the submissions of claims for money from the federal government when an
   entity is not in compliance with Title VI and/or its assurances due to certain DEI
   practices subjects the entity to liability under “[t]he False Claims Act (FCA) [which]
   imposes liability on anyone who ‘knowingly’ submits a ‘false’ claim to the
   Government.” United States ex rel. Schutte v. SuperValu Inc., 598 U.S. 739, 742 (2023)
   (citing 31 U.S.C. § 3729(a)). Under the FCA, violators face penalties including treble
   damages and civil penalties of thousands of dollars per violation.




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           Mandatory Supplement Questionnaire
Upon investigation, have there been instances of noncompliance identiﬁed within your
LEA?

☐   Yes

☐   No

If the answer to the question above is yes, please describe each issue of noncompliance
found within your LEA.




For each area of noncompliance identiﬁed above, detail your remediation plans including
intended date of remediation completion.
